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UNITED STATES DISTRICT COURT |
DISTRICT OF MASSACHUSETTS FILED

IN CLERKS OFFICE
2020 AUG 24 PM 3:52

MICHELLE LYNNE KOSILEK ) U.S. DISTRICT COURT
Plaintiff ) DISTRICT OF MASS.
Vv ) Civil Action #18 -cv-11838 DLC
CAROL MICI )
Defendant )

PLAINTIFF'S INFORMATIVE MOTION REGARDING NON-COMPLIANCE
Now comes the plaintiff and moves this honorable court to take whatever action the court deems
appropriate to ensure that the defendant complies with the court's oral instruction to provide plaintiff
with a copy of the final report of the gender committce. Plaintiff offers the following for clarity:
Defendant claimed that this report, approving plaintiffs surgery, had been given to plaintiff. When
plaintiff informed the court (during the hearing on July 14th) that the report had not been provided, the
court instructed defendant's counsel to do so. Since then, plaintiff asked her therapist for a copy, and was
informed that Dr. James Thompson, the Chair of the gender committee, had informed plaintiff's therapist
that this report was not part of plaintiff's medical record, and would not be provided. Plaintiff then filed
a medical grievance, and received the same answer. Plaintiff then e-mailed defendant's counsel, making
the same request. After an initial response, falsely claiming that "all reports had been provided by my
clinician" I wrote again to Attorney Bartevyan, clarifying the actual facts. Attorney Bartevyan has

declined to respond. Those e-mails have been attached for the court's convenience.

Respectfully submitted,

Michelle Lynne fas Heal

Certificate of service
Plaintiff sent a copy of this filing to defendant's counsel by first-class mail on 8/21/2020
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M4 Gmail Michelle Kosilek <michellekosilek@gmail.com>
GENDER DYSPHORIA COMMITTEE'S REPORT

3 messages

Michelle Lynne Kosilek <michellekosilek@gmail.com> Tue, Aug 11, 2020 at 8:02 AM

To: Mary.Bartevyan@doc.state.ma.us
DEAR ATTORNEY EIRO-BARTEVYAN:

WHEN | INFORMED JUDGE CABELL ON JULY 14TH THAT ! HAD NOT BEEN

PROVIDED A COPY OF THE GENDER COMMITTEE'S REPORT APPROVING MY GENDER-AFFIRMING SURGERY,
JUDGE CABELL INSTRUCTED YOU TO GIVE ME A COPY.

YOU HAVE NOT DONE SO, AND ASKING MY THERAPIST FOR A COPY HAS RESULTED IN THE GENDER
COMMITTEE CHAIRMAN TELLING HER(LAURA PARKER) THAT | CAN'T HAVE IT!

IN THE HOPE OF PREVENTING YOU FROM BEING FURTHER ADMONISHED BY JUDGE CABELL, | AM ASKING
YOU, ONCE AGAIN, TO PROVIDE ME WITH A COPY OF THE GENDER DYSPHORIA COMMITTEE'S REPORT
APPROVING MY SURGERY.

LEGALLY, ITS PART OF MY MEDICAL RECORD, DESPITE DR. JAMES THOMPSON'S OPINION TO THE
CONTRARY.

SINCERELY,
MICHELLE LYNNE KOSILEK, PRO-SE

 

Bartevyan, Mary (DOC) <mary.bartevyan@state.ma.us> Tue, Aug 11, 2020 at 10:10 AM
To: Michelle Lynne Kosilek <michellekosilek@gmail.com>

Dear Ms. Kosilek,

| have been informed that, according to your clinician, you were provided all reports in July. Is there a specific report
that you believe exists that you have not been given? Please let me know.

Mary Bartevyan

[Quoted text hidden]

 

Michelle Lynne Kosilek <michellekosilek@gmail.com> Wed, Aug 12, 2020 at 10:27 AM
To: "Bartevyan, Mary (DOC)” <mary.bartevyan@state.ma.us>

DEAR MARY:

| DON'T KNOW WHO MADE THAT CLAIM TO YOU, RE: MY CLINICIAN, BUT | CAN ASSURE YOU THAT IT WAS NOT
MY CLINICIAN, WHO HAS BEEN APPROPRIATELY APOLOGETIC REGARDING HER EMPLOYER'S DECISION

TO CLAIM THAT THE COMMITTEE'S FINAL REPORT, REFERENCED BY YOU IN YOUR FILING OF 6-15-20, "IS NOT
PART OF MY MEDICAL RECORD, AND WILL NOT BE GIVEN TO ME."

1 AM PARAPHRASING WHAT LAURA PARKER, MY CLINICIAN, REPORTED TO ME AS DR. JAMES THOMPSON'S
REPLY TO MY REQUEST FOR THE COMMITTEE'S FINAL REPORT APPROVING MYSURGERY. THE REPORTS
GIVEN TO ME IN JULY WERE ONLY DUPLICATES OF MY FORMER CLINICIAN'S ORIGINAL RECOMMENDATION
AND DR. THOMPSON'S RECOMMENDATIONS TO THE GENDER COMMITTEE.

IT WAS THE ALLEGED PREPARATION OF THIS “FINAL REPORT" THAT CAUSED THIS PROCESS TO BE FURTHER
DELAYED FROM MARCH 27TH UNTIL THE PRESENT.

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PLEASE SEND ME THE COMMITTEE'S FINAL REPORT THAT YOU TOLD JUDGE CABELL HAD BEEN PROVIDED
TO ME.

SINCERELY
MICHELLE LYNNE KOSILEK, PRO-SE
[Quoted text hidden]

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Mr. Robert M. Farrell — Clerk
United Stated District Court

One Courthouse Way — Room 2300
Boston, MA 02210

August 21, 2020
Re: Kosilek v Mici

CA No. 18-11838 ADB
(Now with Judge Cabell)

Dear Mr. Farrell,

Enclosed please find Informative Motion Regarding Non-Compliance.

Respectfully,

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Michelle Lynne Kosilék - Pro Se

 

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- & ae Framingham, MA 01701
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Certificate of Service:
On Aug. 21, 2020, Plaintiff mailed a copy of this Informative Motion to:
Mary Eiro-Bartevyan

70 Franklin St. Suite 600
Boston, MA 02110-1327
